Case No. 1:24-cv-02353-GPG-TPO           Document 1       filed 08/26/24    USDC Colorado           pg
                                             1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Case No. 1:24-cv-02353

 VICTOR MOSES,

        Plaintiff,

 v.

 CITY AND COUNTY OF DENVER, COLORADO,
 DENVER HEALTH AND HOSPITAL AUTHORITY,
 TODD GENTRY, individually,
 STEPHEN MARINO, individually,
 ANTHONY NORMAN, individually,
 FELIPE CERVANTES, individually,
 KYLE CARTER, individually,
 JOHNNA AITKEN, individually,
 LISA AITKEN-NELSON, individually,
 JASON MOORE, individually,
 DAMON ROMAN, individually,
 E. M. ALFARO, individually,
 BRIAN CAMOZZI, individually,
 COURTNEY WHAM, individually,
 TAEGIN SUNG, individually,

        Defendants.


                                   NOTICE OF REMOVAL


        To the Honorable Judges of the United States District Court for the District of Colorado:

        Defendants City and County of Denver, Colorado; Todd Gentry; Stephen Marino; Anthony

 Norman; Felipe Cervantes; Kyle Carter; Johnna Aitken; Lisa Aitken-Nelson; Jason Moore; Damon

 Roman; E. M. Alfaro; and Brian Camozzi, (collectively, the “Removing Parties”), by their

 undersigned attorneys, respectfully show this Court:

        1.      Removing Parties are defendants in the above-entitled action.
Case No. 1:24-cv-02353-GPG-TPO            Document 1       filed 08/26/24     USDC Colorado         pg
                                              2 of 4




          2.    On July 30, 2024, the above-entitled action was commenced against Removing

 Parties in District Court for the City and County of Denver, Colorado, and is now pending in such

 court.

          3.    On August 22, 2024, counsel for Removing Parties filed a Waiver and Acceptance

 of Service in the state court action.

          4.    No further proceedings have been had in this action in the above-mentioned state

 court.

          5.    The above-entitled action is a civil action for alleged violations of Plaintiff’s

 constitutional rights, which occurred while Plaintiff was training to be a police officer at the

 Denver Police Academy.

          6.    This Court has original jurisdiction of the above-entitled action pursuant to 28

 U.S.C. § 1331,1 and the action may therefore be removed to this Court pursuant to 28 U.S.C.

 § 1441(a).

          7.    This notice is filed with this Court within 30 days after service on Removing Parties

 of the summons and complaint in the above-entitled action.

          8.    A copy of the Complaint and Jury Demand served on Removing Parties in the

 above-entitled action is attached as Exhibit A.

          9.    A copy of the pleadings filed in the above-mentioned state court case are attached

 as Exhibit B-1 through B-14.




 1
   This Court has supplemental jurisdiction over the non-federal question claims in this action
 pursuant to 28 U.S.C. § 1367, as they form part of the same controversy as the federal question
 claims.

                                                   2
Case No. 1:24-cv-02353-GPG-TPO            Document 1        filed 08/26/24     USDC Colorado         pg
                                              3 of 4




        10.     Undersigned counsel has conferred with counsel for Defendants Denver Health and

 Hospital Authority, Courtney Wham, and Taegin Sung and is authorized to state that all defendants

 to the above-captioned action consent to removal to federal court.

        11.     On the date set forth below, a copy of this notice is being served on Plaintiff’s

 attorney. On the same date, a copy of this notice is being filed with the clerk of the District Court

 for the City and County of Denver, Colorado, in which the action was commenced.

        WHEREFORE, Removing Parties request that the above-entitled action be removed from

 the District Court of the City and County of Denver, Colorado, to this Court.


 Respectfully submitted this 26th day of August, 2024.

                                                 GARNETT POWELL MAXIMON BARLOW & FARBES

                                                 s/ Stanley L. Garnett
                                                 Stanley L. Garnett, #12282
                                                 David D. Powell, #16152
                                                 Elaina Shively, # 42737
                                                 Lys Runnerstrom, #47423
                                                 Kristin L. Arthur, #52397
                                                 1125 17th Street, Suite 2200
                                                 Denver, CO 80202
                                                 Phone: (303) 991-3344
                                                 E-mail: stan.garnett@garnettlegalgroup.com
                                                           david.powell@garnettlegalgroup.com
                                                           elaina.shively@garnettlegalgroup.com
                                                           lys.runnerstrom@garnettlegalgroup.com
                                                           kristin.arthur@garnettlegalgroup.com

                                                 Attorneys for Defendants City and County of
                                                 Denver, Colorado; Todd Gentry; Stephen Marino;
                                                 Anthony Norman; Felipe Cervantes; Kyle Carter;
                                                 Johnna Aitken; Lisa Aitken-Nelson; Jason Moore;
                                                 Damon Roman; E. M. Alfaro; and Brian Camozzi




                                                  3
Case No. 1:24-cv-02353-GPG-TPO           Document 1       filed 08/26/24     USDC Colorado        pg
                                             4 of 4




                                 CERTIFICATE OF SERVICE

 The undersigned hereby certifies that on this 26th day of August, 2024, a true and correct copy of
 the foregoing NOTICE OF REMOVAL was electronically filed using the Court’s CM/ECF
 system.




                                                     s/ Tracy Williams
                                                     Tracy Williams




                                                 4
